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         SUPERIOR COURT OF DOUGHERTY COUNTY CLERK OF SUPERIOR COURT
                                           DOUGHERTY COUNTY, GEORGIA
                   STATE OF GEORGIA
                                                                                     SUCV2022000642
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                      CIVIL ACTION NUMBER SUCV2022000642
 Leroy, II, Antonia

 PLAINTIFF
                                            VS.
 Redspeed USA Corporation

 DEFENDANT


                             SUMMONS
 TO: REDSPEED USA CORPORATION

 You are hereby summoned and required to file with the Clerk of said court and serve upon the
 Plaintiff's attorney, whose name and address is:

                           Patrick Flynn
                           Patrick S. Flynn, LLC
                           517 W. Broad Avenue
                           P.O. Box 7
                           Albany, Georgia 31701

 an answer to the complaint which is herewith served upon you, within 30 days after service of
 this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
 default will be taken against you for the relief demanded in the complaint.

 This 24th day of June, 2022.
                                                  Clerk of Superior Court




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                                                           CLERK OF SUPERIOR COURT
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